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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JANE BISHOPLILLEGARD,                       )
                                            )
                  PLAINTIFF,                )
                                            )       Civil Action No.15CV6608
                  v.                        )
                                            )
                                            )       Judge Milton Shadur
VELOCITY INVESTMENTS, LLC,                  )
BLITT & GAINES, P.C.,                       )
and ANSELMO LINDBERG OLIVER                 )
LLC, f/k/a FREEDMAN ANSELMO                 )
LINDBERG LLC,                               )
                                            )
                  DEFENDANTS.               )


             NOTICE OF VOLUNTARY DISMISSAL OF ALL COUNTS


       PLEASE TAKE NOTICE that Plaintiff, JANE BISHOPLILLEGARD, by and

through undersigned counsel, hereby voluntarily dismisses all counts against Defendants in

the above –captioned action as set forth in her Complaint, without prejudice pursuant to

Federal Rule of Civil procedure 41(a)(1)(A). This notice of voluntarily dismissal is

appropriately filed without an Order of the Court because no Defendant has answered

Plaintiff’s Complaint, or filed a motion for summary judgment. Fed. R. Civ. P.

41(a)(1)(A)(i).
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                                      Respectfully submitted,

                                      THE LAW OFFICE OF M. KRIS
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